UNITED S'I`ATES DISTRICT COURT FOR
THE WESTERN DISTRICT OF MISSOURI

AFFIDAVIT
l, Gregory Bowie, being duly sworn, depose and state the following:

l. l am a Special Agent With the United States Department of Homeland Security,
Homeland Security Investigations (HSI) assigned to the office of the Resident Agent in Charge in
Springfield, Missouri, and have been so employed since March 200]. As part of my duties as an
HSI agent, l investigate criminal violations relating to passport fraud including violations of 18
U.S.C. § 1543, forgery or false use of a passport, wire fraud, in violation of 18 U.S.C. § 1343, and
bank fraud, in violation of 18 U.S.C. § 1344. l have received training in criminal investigative
procedures from the Federal Law Enforcement Training Center in Glynco, Georgia.

2. This affidavit is submitted for the limited purpose of establishing probable cause
that Segun Prosper OTARU, the defendant herein, committed a violation of Title 18, United States
Code, Section 1344. Consequently, this affidavit does not include every fact known to me.

3. Regions Bank, headquartered at 1900 Fifth Avenue North, in Birmingham,
Alabama, with a branch office located at 2927 South Campbell Avenue, in Springfield, Missouri,
was a financial institution as that term was defined in Title 18, United States Code, Section 20(1),
since it was an insured depository institution under the Federal Deposit lnsurance Act, Title 12,
United States Code, Section 1813(c)(2).

4. On October 9, 2018 Springfield, MO Police responded to Regions Bank, located at
2927 S. Campbell in reference to a person attempting to make fraudulent wire transfers. Officer
Nolan arrived and made contact with bank employees who identified a black male in the lobby
Who was the suspect. Officer Nolan made contact with the suspect who was identified under two
names: Segun OTARU and Sirnon Augustus. Both identifications were found on the subject The
identifications were identified as: Nigerian Driver’s license under the name of Simon Augustus,
Nigerian Passport #A()3063766 containing US Bl/B2 Visa #20183680940001 also in the name of
Simon Augustus, a Missouri Driver’s license under the name Segun OTARU, and a United States
Employment Authorization Card in the name Segun OTARU. Regions Bank teller Tina Lawson
stated to Officer Nolan that she received a phone call from Regions Bank about a fraudulent wire
that was received into the account of Simon Augustus. The victim had wired $4,680.00 to the
Regions account. OTARU was arrested and transported to the Greene County Jail.

5. On October 9, 2018, at approximately 4:15 p.m., Springfield Police Detective Justin
Thorn, U.S. Secret Service Special Agent Jason Ruyle, and HSI Special Agent Greg Bowie
interviewed OTARU at the Greene County Jail. Detective Thorn read OTARU his Miranda
Warnings and he agreed to answer questions without the presence of an attorney. OTARU stated
that Segun OTARU was his correct name. OTARU was identified as a citizen and national of
Nigeria who is a Perrnanent Resident Alien. OTARU stated that he received the fraudulent

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Nigerian Passport and driver’s license in the mail from a person known only as “Akem” who
resides in Nigeria. OTARU said that “Akem” owed him money and that he did not want to use his
own bank account to receive the money because he does not trust “Akem”. OTARU admitted to
using the fraudulent Nigerian Passport to open the bank account at Regions Bank to receive bank
wires. OTARU denied any knowledge of the fraudulent activity mentioned by the bank teller. ln
OTARU’s wallet an Academy Bank debit card under the name Simon Augustus was found.
OTARU did also admit to opening a bank account at Academy Bank utilizing the fraudulent
Nigerian Passport. OTARU was asked why he opened the Academy Bank using the fraudulent
passport and he stated it was also to receive wire transfers from “Akem”.

6. On October 10, 2018, records checks were conducted on the documents seized from
OTARU in the narne of Simon Augustus. These records checks indicated that the
documents in the name of Simon Augustus were not valid

 

Homeland Security lnvestigations

Sworn and subscribed before me this 10th day of O

  

David P. Rush
United States Magistrate Judge

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